United States District Court

Central District of California

Case 2:21-cv-03783-VAP-SK Document 20 Filed 12/03/21 Page1of1 Page ID #:115

UNITED STATES DISTRICT COURT

 

 

9 CENTRAL DISTRICT OF CALIFORNIA JS6
4

a Larry Dunn,

6 Plaintiff, Case No. 2:21-cv-03783-VAP-(SKx)
e Judgment

S Sperling LAC-V V, LLC,

? Defendant.
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1]
12 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
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14 Pursuant to the Order Granting, in Part, Plaintiff's Motion for Default

15 | Judgment, IT IS ORDERED AND ADJUDGED that judgment is entered in

16 | favor of Plaintiff Larry Dunn.

18 Pursuant to this Judgment, Defendant shall pay Plaintiff $1,560.00 in
19 | attorneys’ fees and $497.00 in costs, for a total of $2,057.00.

21 | ITIS SO ORDERED.

a Dated: 12/3/21 Vigratnn A, Phuc

24 Wirginia A. Phillips
United States District Judge

 
